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                                EXHIBIT 1
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    From:             Kanter, Jonathan S
    Sent:             Friday, July 24, 2020 5:40 PM
    To:               Shores, Ryan (ODAG)
    Subject:          RE: Athey Presentation


   Great. Talk then.

   Best,
   Jonathan


   Jonathan S. Kanter I Partner
   Paul, Weiss, Rifkind, Wharton & Garrison LLP
   2001 K Street, NW I Washington, DC 20006-1047

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   From: Shores, Ryan (ODAG)
   Date: Friday, Jul 24, 2020, 5:40 PM
   To: Kanter, Jonathan S
   Subject: Re: Athey Presentation

   Great - please call me then at

          On Jul 24, 2020, at 5:35 PM, Kanter, Jonathan S                         wrote:


          How about 1:30?

          Best,
          Jonathan


          Jonathan S. Kanter I Partner
          Paul, Weiss, Rifkind, Wharton & Garrison LLP
          2001 K Street, NW I Washington, DC 20006-1047

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          From: Shores, Ryan (ODAG)
          Date: Friday, Jul 24, 2020, 5:33 PM
          To: Kanter, Jonathan S
          Subject: Re: Athey Presentation



          Great. Can we have a brief touch base on Monday? I can do between 12:30 and 2 or between 3
          and 4:30 if those times work.

                 On Jul 24, 2020, at 3 :48 PM, Kanter, Jonathan S                          wrote:




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                 Hi. Susan is confirmed for 3:00pm ET on 7/31 .

                 Best,
                 Jonathan


                 Jonathan S. Kanter I Partner
                 Paul, Weiss, Rifkind, Wharton & Garrison LLP
                 2001 K Street, NW I Washington, DC 20006-1047

                                         I www.paulweiss.com


                 From: Shores, Ryan (ODAG)
                 Date: Thursday, Jul 23 , 2020, 9:02 PM
                 To: Kanter, Jonathan S
                 Subject: Re: Athey Presentation

                 We can do after 2:30 on July 31 . Please let us know what works for you. Best, Ryan

                        On Jul 23, 2020, at 6:24 PM, Kanter, Jonathan S
                                                   wrote:


                        Great. Will stand by.

                       Best,
                       Jonathan


                       Jonathan S. Kanter I Partner
                       Paul, Weiss, Rifkind, Wharton & Garrison LLP
                       2001 K Street, NW I Washington, DC 20006-1047

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                       From: Shores, Ryan (ODAG)
                       Date: Thursday, Jul 23, 2020, 5:14 PM
                       To: Kanter, Jonathan S
                       Subject: Re: Athey Presentation

                       Thanks Jonathan. That should work but let me confirm tomorrow. Best,
                       Ryan

                              On Jul 23, 2020, at 12:28 PM, Kanter, Jonathan S
                                                         wrote:


                              Hi, Ryan. Susan is happy to speak. She proposed a
                              75-minute window on 7/31. Does that work for you and
                              is that soon enough?




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                        For this call, Susan and I will each participate on our
                        behalf (not for any specific client).

                        Best,
                        Jonathan


                       Jonathan S. Kanter I Partner
                       Paul, Weiss, Rifkind, Wharton & Garrison LLP
                       2001 K Street, NW I Washington, DC 20006-1047

                                                 I www.paulweiss.com


                       From: Shores, Ryan (ODAG)
                       Date: Wednesday, Jul 22, 2020, 2:41 PM
                       To: Kanter, Jonathan S
                       Subject: RE: Athey Presentation

                       Great, thanks.

                       And yes, it was informative and appreciated.

                        Best,
                        Ryan



                       From: Kanter, Jonathan S
                       Sent: Wednesday, July 22, 2020 2:38 PM
                       To: Shores, Ryan (ODAG)
                       Subject: RE: Athey Presentation

                        Hi. I am working with Susan's folks to propose a few times. We'll
                       try to get this arranged ASAP.

                       Thanks again for the time today. I hope it was informative.

                       Best,
                       Jonathan

                       Jonathan S. Kanter I Partner
                       Paul, Weiss, Rifkind, Wharton & Garrison LLP
                        2001 K Street, NW I Washington, DC 20006-1047

                                                I www.paulweiss.com


                       From: Shores, Ryan (ODAG)
                       Sent: Wednesday, July 22, 2020 2:33 PM
                       To: Kanter, Jonathan S
                       Subject: Athey Presentation

                        Hi Jonathan, I am just checking in on potential timing for a
                        presentation by Athey on scale issues. Thanks, Ryan




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